19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 1 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 2 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 3 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 4 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 5 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 6 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 7 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 8 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 9 of 10
19-50681-amk   Doc 44   FILED 10/03/19   ENTERED 10/03/19 15:18:15   Page 10 of 10
